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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

  EUGENE ALLAN, et al.,

           Plaintiffs,                                  Case No. 10-cv-14046

  v.                                                    HONORABLE STEPHEN J. MURPHY, III

  REALCOMP II, LTD., et al.,

           Defendants.
                                            /

       ORDER GRANTING MOTION FOR ATTORNEYS' FEES (document no. 223)

       The matter at hand is an antitrust case. From 2004 to 2007, Realcomp II, Ltd.

  ("Realcomp") prevented publicly accessible websites from receiving information on homes

  for sale in the southeast Michigan region listed by brokers using alternative contracting

  models with home sellers. The Federal Trade Commission ("FTC") found that Realcomp's

  rules constituted an illegal restraint of trade. In re Realcomp II, Ltd., No. 9320, 2007 WL

  6936319 (F.T.C. Oct. 30, 2009). The U.S. Court of Appeals for the Sixth Circuit affirmed

  the finding in Realcomp II, Ltd. v. FTC, 635 F.3d 815 (6th Cir. 2011). The plaintiffs,

  individual home sellers during the relevant time period, claimed that they paid more for

  brokerage services than they otherwise would have paid had the restrictions not been in

  place.

       On March 5, 2014, after several years of proceedings, the parties agreed to settle the

  case. The proposed Settlement Agreement calls for Realcomp to create a common fund

  of $3,250,000 for the benefit of the class, the full amount to accrue by April 30, 2015. Class

  members who submit valid claim forms will be entitled to a share of the common fund,

  based on the commission paid to real estate brokers by each claimant, but in no case to

  exceed 25% of the total commissions paid by the claimant. The settlement also provides
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  for the class representatives to receive an additional $12,500 each and up to one-third of

  the common fund as an attorneys' fees award, plus costs and expenses. See Settlement

  Agreement, ECF No. 222-2

       The Court granted the motion for preliminary approval on May 29, 2014. See Order

  of Prelim. Approval, ECF No. 220. The parties then moved for final approval of the

  Settlement Agreement. The Court held a Civil Rule 23 fairness hearing on August 19, 2014,

  and subsequently granted the motion for final approval. The parties also moved for entry

  of attorneys' fees, reimbursement of expenses, and payment of awards in a separate order.

  Having heard from the parties, examined the briefing, and considered the objections, the

  Court will grant the motion and approve the award.

                                     LEGAL STANDARDS

       Civil Rule 23(h) provides for the award of "reasonable attorney's fees and nontaxable

  costs that are authorized . . . by the parties' agreement." Fed. R. Civ. P. 23(h). A court may

  hold a hearing on the motion for attorneys' fees, and must give notice of the proposed

  award. See generally Lonardo v. Travelers Indem. Co., 706 F. Supp. 2d 766, 777 (N.D.

  Ohio 2010). The Sixth Circuit has held that the "percentage of the fund has been the

  preferred method for common fund cases, where there is a single pool of money and each

  class member is entitled to a share." Id. at 789 (citing Rawlings v. Prudential-Bache Props.,

  Inc., 9 F.3d 513, 516 (6th Cir. 1993)). When evaluating this type of award, the court should

  find that the award is "reasonable under the circumstances." Rawlings, 9 F.3d at 516. A

  court may consider "(1) the value of the benefit rendered to the plaintiff class; (2) the value

  of the services on an hourly basis; (3) whether the services were undertaken on a

  contingent fee basis; (4) society's stake in rewarding attorneys who produce such benefits


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  in order to maintain an incentive to others; (5) the complexity of the litigation; and (6) the

  professional skill and standing of counsel involved on both sides." Moulton v. U.S. Steel

  Corp., 581 F.3d 344, 352 (6th Cir. 2009) (quoting Bowling v. Pfizer, Inc., 102 F.3d 777, 780

  (6th Cir. 1996)).

                                         DISCUSSION

       The Settlement Agreement calls for the creation of a $3,250,000 common fund for

  recovery by the class members. The plaintiffs now move for an attorneys' fees award of

  one third of the fund, $1,083,333.33. Mot. for Award, ECF No. 223. They also move for the

  reimbursement of $300,771.71 in already-incurred expenses and an estimated $173,000

  further for the future administration of the distribution of the awards, and a representative

  award of $12,500 each to class representatives Eugene and Deborah Allen, Matthew and

  Traci Cavendash, and Keith Landen. The Court concludes that the awards should be

  approved.

  I.   Attorneys' Fees

       The Court finds as follows.

       First, the common fund of $3,250,000, based on the roughly 2100 claims so far filed,

  will yield a substantial award to each class member, likely exceeding $500 per member.

  This is a substantial benefit for the class, particularly when compared to similar multiple

  listing service antitrust actions that provided much smaller per-member recovery

  settlements. See, e.g., Boland v. Consol. Multiple Listing Servs., Inc., et al., No. 09-1335

  (D.S.C.) (9732 class members sharing a $1 million settlement); Logue v. West Penn Multi-

  List, Inc., No. 10-451 (W.D. Pa.) (47,309 class members sharing a $2.375 million

  settlement).


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       Second, using the alternative lodestar method of calculating attorneys' fees, the

  plaintiffs state that the value of their work on the case would actually be closer to $1.7

  million. Mot. for Award at 10 (citing Ex. 1, ECF No. 223-1). As such, the award of one-third

  of the common fund represents a substantial discount, and is per se reasonable. See

  Hayes v. Sec'y of Health and Human Servs., 923 F.2d 418, 422 (6th Cir. 1990).

       Third, class counsel undertook this case on a contingency fee basis, have not

  received any compensation to date, and have expended a considerable sum in the

  administration of class notice and other costs. See Mot. for Award at 11. These facts also

  support awarding the fee. See Gentrup v. Renovo Servs., LLC, No. 7-430, 2011 WL

  2532922, at *4 (S.D. Ohio June 24, 2011).

       Fourth, the Court agrees that an appropriate attorneys' fees award here serves as an

  incentive to bring future antitrust litigation. See In re Cardizem CD Antitrust Litig., 218

  F.R.D. 508, 534 (E.D. Mich. 2003).

       Fifth, the case has been ongoing for four years, it is an antitrust class action, see

  generally In re: NASDAQ Market-Makers Antitrust Litig., 187 F.R.D. 465, 475 (S.D.N.Y.

  1998) ("Antitrust litigation in general, and class action litigation in particular, is

  unpredictable"), it involves complex real estate transactions that lay people would not

  necessarily be able to easily understand, trial would require complex proofs and

  presentations, both factual and expert, and it would involve consideration of a class of

  thousands. The Court therefore concludes the case is complex and warrants the award

  of attorneys' fees that take into account the complexity.

       Sixth, as the Court stated at the hearing, the record reflects the finding that the parties

  practiced this case and represented their clients with the upmost professionalism and skill.


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             Accordingly, the Court concludes the attorneys' fees award is reasonable.

  II.        Costs

             In common fund type cases, as here, generally "class counsel is entitled to

  reimbursement of all reasonable out-of-pocket litigation expenses and costs in the

  prosecution of claims and settlement, including expenses incurred in connection with

  document production, consulting with experts and consultants, travel and other

  litigation-related expenses." New England Health Care Emps. Pension Fund v. Fruit of the

  Loom, Inc., 234 F.R.D. 627, 634-35 (W.D. Ky. 2006), aff'd sub nom. Fidel v. Farley, 534

  F.3d 508 (6th Cir. 2008) (citing In re Cardizem DC Antitrust Litigation, 218 F.R.D. at 535.).

  A court should consider "whether the particular costs are the type routinely billed by

  attorneys to paying clients in similar cases." Id.

             Here, the plaintiffs allege incurred expenses of $300,771.71 for attorneys costs

  including expert witnesses, court reporters, travel, and routine document management. The

  plaintiffs also incurred and will incur roughly $173,000 for the administration of class notice

  and the payment of the settlement. Mot. for Award at 16; Ex. 1 ¶ 6-8. Thus, the total

  requested fees award will be roughly $475,000. No member has objected. A review of the

  parties' documented expenses, see Ex. A & B, ECF No. 233-1, 2, shows the expenses are

  of the type routinely billed for attorney work, and the Court was aware that the plaintiffs

  would be reimbursed for the administration of class notice and the settlement award. Order

  of Prelim. Approval at 9. The Court concludes the costs are reasonable.1



  III.       Representative Awards


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             The parties shall inform the Court of the final costs of administering the class.

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        With respect to the class representative awards, "Courts within the Sixth Circuit . . .

  recognize that, in common fund cases and where the settlement agreement provides for

  incentive awards, class representatives who have had extensive involvement in a class

  action litigation deserve compensation above and beyond amounts to which they are

  entitled to by virtue of class membership alone." Lonardo, 706 F. Supp. 2d at 787 (citing

  Hadix v. Johnson, 322 F.3d 895, 898 (6th Cir. 2003)). Here, beyond their service as the

  named plaintiffs, plaintiffs' counsel stated at the hearing that the class representatives

  committed a great deal of time and resources to participating in the litigation via depositions

  and close involvement with plaintiffs' counsel. No objection to the award was made. The

  Court concludes the representative awards are reasonable.

  IV.   Conclusion

        Having found the attorneys' fees, costs, and representative awards are reasonable,

  the Court will grant the motion and approve the fees.

                                             ORDER

        WHEREFORE, it is hereby ORDERED that the motion for attorneys' fees (document

  no. 223) is GRANTED.

        SO ORDERED.



                                      s/Stephen J. Murphy, III
                                      STEPHEN J. MURPHY, III
                                      United States District Judge
  Dated: September 4, 2014



  I hereby certify that a copy of the foregoing document was served upon the parties and/or
  counsel of record on September 4, 2014, by electronic and/or ordinary mail.


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                               s/Carol Cohron
                               Case Manager




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